       Case 2:21-cv-00409-GBW-KRS Document 5 Filed 10/01/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

AARON SOTELO, Individually and on
Behalf of all Others Similarly Situated,

               Plaintiffs,

v.                                                           No. 2:21-cv-409 GBW/KRS

SUR TRANSPORTE, Inc., et al.,

               Defendants.

                                  ORDER TO SHOW CAUSE

       THIS MATTER comes before the Court sua sponte. Plaintiffs initiated this action on

May 3, 2021. On May 31, 2021, summonses were returned executed against two Defendants and

their answers were due June 14, 2021. (Docs. 3 and 4). No answer or other responsive pleading

has been filed, and the remaining Defendants appear to remain unserved. Pursuant to Federal

Rule of Civil Procedure 4(m), Plaintiffs were required to serve Defendants within ninety days of

filing the complaint. In addition, Rule 41(b) of the Federal Rules of Civil Procedure authorizes

the Court to dismiss an action sua sponte for failure to prosecute. See Olsen v. Mapes, 333 F.3d

1199, 1204 n.3 (10th Cir. 2003); see also D.N.M. LR-Civ. 41.1 (“A civil action may be

dismissed if, for a period of ninety (90) calendar days, no steps are taken to move the case

forward.”). More than ninety days have passed since Plaintiffs took any step to move this case

forward.

       IT IS THEREFORE ORDERED that on or before October 15, 2021 Plaintiffs must

provide the Court with a written explanation showing good cause why this case should not be

dismissed for failure to prosecute.


                                             ____________________________________
                                             KEVIN R. SWEAZEA
                                             UNITED STATES MAGISTRATE JUDGE
